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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------X
UNITED STATES OF AMERICA            :
                                    :
     -against-                      :             No. 18 Cr. 425 (JFK)
                                    :
LAWRENCE MCAFEE,                    :                OPINION & ORDER
                                    :
                    Defendant.      :
------------------------------------X
APPEARANCES

FOR DEFENDANT LAWRENCE MCAFEE:
     Scott B. Tulman
     LAW OFFICES OF SCOTT B. TULMAN & ASSOCIATES, PLLC

FOR THE UNITED STATES OF AMERICA:
     Ryan B. Finkel
     U.S. ATTORNEY’S OFFICE FOR THE SOUTHERN DISTRICT OF NEW YORK

JOHN F. KEENAN, United States District Judge:

     Before the Court is a motion by Defendant Lawrence McAfee

seeking his release from federal custody and dismissal of the

Indictment.   For the reasons set forth below, McAfee’s motion is

GRANTED in part and DENIED in part.

     I.   Background

     On June 14, 2018, McAfee was charged with one count of

conspiracy to commit Hobbs Act robbery, in violation of 18

U.S.C. § 1951, and one count of Hobbs Act robbery, in violation

of 18 U.S.C. § 1951 and 2.     (Indictment, ECF No. 9.)       The

charges stemmed from the robbery of a pharmacy in downtown

Manhattan by McAfee and two other men and their attempted

robberies of two other pharmacies in the same area on the



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morning of February 22, 2018.      (Compl., ECF No. 1.)      McAfee was

arrested on February 28, 2018, after he admitted his criminal

conduct to a New York City Department of Homeless Services

representative.   Following his arrest, McAfee was interviewed by

law enforcement, during which he waived his Miranda rights and

confessed to the robbery and attempted robberies.

     On June 19, 2018, McAfee was arraigned and entered a plea

of not guilty before the Court.      During the hearing, the

Government moved, with McAfee’s consent, for a psychiatric

examination pursuant to 18 U.S.C. § 4241(b) to assess McAfee’s

competency to stand trial.     The Court ordered the examination.

Since then, McAfee has remained in federal custody and under

evaluation and treatment by the Federal Bureau of Prisons (BOP).

     On March 29, 2019, the BOP provided a forensic evaluation

of McAfee which concluded that “McAfee’s competency related

skills are significantly compromised by presently exacerbated

symptoms of a serious mental illness or defect, namely,

Schizoaffective Disorder, such that he is unable to understand

the nature and consequences of the proceedings against him or to

assist properly in his defense.”        (Ex. E to Decl. of Scott B.

Tulman at 11, filed under seal.)        On November 25, 2019, the BOP

further opined that McAfee’s “mental condition continues to

render him not competent to proceed to trial.”         (Ex. G to Decl.

of Scott B. Tulman at 7, filed under seal.)


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     On March 31, 2020, the BOP provided an update to the Court

regarding its attempts to restore McAfee’s competency.          (Ex. C

to Opp’n, filed under seal.)      The BOP’s report explained that,

despite McAfee’s full compliance with his psychotropic

medication regime, “McAfee’s mental health symptoms continue to

interfere with his ability to rationally proceed in the criminal

matter.”   (Id. at 5.)   The BOP further opined that “it appears

the probability of restoring [McAfee’s] competence in the

foreseeable future is low.”     (Id.)

     On September 23, 2020, at the request of both parties, the

Court entered an order directing the BOP to evaluate McAfee

pursuant to 18 U.S.C. § 4246 to determine whether his mental

disease “would create a substantial risk of bodily injury to

another person or serious damage to property of another” should

McAfee be released from custody.        (ECF No. 46.)   The BOP

submitted the requested report on November 24, 2020, opining

that McAfee “does not presently suffer from a mental illness or

defect that increases his risk of violent ideation, intent, or

behavior,” and his “release from custody would not present a

substantial risk of bodily injury to others or serious damage to

the property of another due to mental illness.”         (Letter from T.

Scarantino, Complex Warden, to Hon. John F. Keenan at 9

(emphasis in original), filed under seal.)        The BOP’s report,

however, noted certain serious risk factors related to McAfee’s


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illness that could give rise to a risk of danger and cautioned

that “[t]he prediction of future violence is very difficult and

declines in accuracy over time.”        (Id. at 7–9.)

     On December 17, 2020, McAfee (through his counsel)

submitted a motion seeking (1) McAfee’s discharge from federal

custody together with an order directing the BOP to test him for

the coronavirus, COVID-19, and place him in quarantine before

his release, as well as an order directing the U.S. Marshals

Service (USMS) to transport him to his mother’s home in New

Jersey; and (2) that the Indictment in this case be dismissed

without prejudice pursuant to Federal Rule of Criminal Procedure

48(b)(3).   (ECF No. 54.)    On December 24, 2020, the Government

filed an opposition in which it agreed that McAfee should be

released but opposed dismissal of the Indictment.         (ECF No. 57.)

McAfee filed a reply on December 28, 2020.        (ECF No. 58.)

     On January 5, 2021, the Court heard the motion during an

in-person conference with counsel for McAfee and the Government.

At that hearing, neither side disputed that McAfee is presently

not competent to stand trial and the likelihood of his regaining

such competency is minimal.     (Jan. 5, 2021 Conference Tr.

(“Tr.”) at 2:1–3:6, ECF No. 59.)        Both parties also agreed that

there was no need for a separate hearing regarding McAfee’s

competency or whether he is a danger to himself or others

pursuant 18 U.S.C. § 4246.     (Id. at 3:13–17.)      The Government


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noted, however, that while it did not dispute that McAfee is not

a danger under 18 U.S.C. § 4246, it would not concede the same

under other relevant statutes, such as the Bail Reform Act, 18

U.S.C. § 3142.    (Id. at 2:10–13.)

     II.   Discussion

     As a preliminary matter, the Court finds that McAfee

presently is not competent to stand trial and the likelihood of

his regaining competency is minimal.       The Court also finds that,

presently, McAfee’s mental disease does not create a substantial

risk of bodily injury to another person or serious damage to

property of another under 18 U.S.C. § 4246.        Accordingly, and

because the Government does not object to McAfee’s request to be

discharged from federal custody, the Court grants that branch of

McAfee’s motion.

     Before turning to the conditions of McAfee’s release,

however, the Court must first resolve his additional request to

dismiss the Indictment, which impacts whether the Bail Reform

Act, 18 U.S.C. § 3142, applies and whether the Court may impose

certain “reasonable” conditions on McAfee’s release as requested

by the Government.

           A.    Dismissal of the Indictment

     McAfee argues that the Indictment should be dismissed, and

the prosecution of this case terminated, because “unnecessary

delay” has and prospectively will occur in bringing McAfee to


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trial due to the BOP’s inability to restore him to competence.

Further, McAfee argues, he has already served a term in federal

custody that is equivalent to the applicable Guidelines range

for his offense had he simply been sentenced instead of

hospitalized by the BOP.     Accordingly, McAfee argues, because

the Government does not intend to move for dismissal of the

Indictment pursuant to Federal Rule of Criminal Procedure 48(a),

and the Government no longer has a purported “punitive interest”

in this case, the Court has discretion to dismiss the charges

against him pursuant to Rule 48(b)(3), which allows a court to

dismiss an indictment “if unnecessary delay occurs in . . .

bringing a defendant to trial.” Fed. R. Crim. P. 48(b)(3).

     The Government argues that dismissal of the Indictment is

not warranted at this time because the relevant statutory

framework does not require dismissal and the seriousness of the

offense and McAfee’s history and characteristics all counsel in

support of placing supervisory conditions on his release.

McAfee concedes that dismissal under the circumstances here is

not mandatory, but rather, is left to the Court’s discretion.

(Mem. of L. at 16, 22, ECF No. 56; Reply at 4, ECF No. 58.)            The

Government proposes that “after a reasonable period of time, the

parties and the Court may then evaluate [McAfee’s] progress and

pursue any prudent next steps including, potentially, eventual

dismissal of the Indictment.”      (Opp’n at 2, ECF No. 57.)


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     The circumstances of this case are unusual, and the Court

is sensitive to McAfee’s argument that where a defendant has

been declared incompetent and not statutorily dangerous enough

to be indefinitely hospitalized, he should not be forced to

endure undue turmoil that may be caused by allowing charges to

stand which have no practical purpose.       In support of this

argument, McAfee relies on United States v. Salerian, No. 13 Cr.

17 (JPJ), 2016 WL 8732377 (W.D. Va. Mar. 11, 2016), which

dismissed an indictment where, as here, the defendant was found

to be incompetent and not a danger under 18 U.S.C. § 4246.

Salerian is instructive, but the circumstances of that case are

readily distinguishable in one important respect:         In Salerian,

the defendant was charged with unlawfully distributing

controlled substances and conspiring to distribute controlled

substances. Id. at *1.    Unlike this case, however, the court in

Salerian determined that the defendant was not a danger to

himself or others, in part, because he no longer held a medical

license, and thus, he was unable to unlawfully prescribe

controlled substances in the future. Id. at *2, *3.          No such

restriction on McAfee’s potential future conduct exists.

Indeed, it is entirely possible that McAfee’s offense conduct—

robbery and attempted robbery—may recur given his serious mental

health issues, which include “a grandiose delusional belief

system,” hallucinations, and a “significant” history of


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substance abuse—including use of synthetic marijuana “K2” while

in federal custody.    (Letter from T. Scarantino, Complex Warden,

to Hon. John F. Keenan at 4–5.)      Accordingly, the Court agrees

with the Government that dismissal of the Indictment is not

appropriate at this time, and it joins other courts that have

found the same. See, e.g., United States v. Ecker, 78 F.3d 726,

732 (1st Cir. 1996) (holding neither the competency statutes nor

Supreme Court precedent require dismissal of an indictment, and

“[b]ecause the prosecutor wishes to keep [the defendant’s]

indictment pending, the government has a continuing punitive

interest in [him]”) (emphasis in original); United States v.

West, No. 03 Cr. 128 (WYD), 2007 WL 1851305, at *6 (D. Colo.

June 26, 2007) (denying request to dismiss an indictment where

the defendant was deemed incompetent but not found to be

dangerous).

          B.   Release

     The Bail Reform Act, 18 U.S.C. § 3142, provides that “a

person charged with an offense, . . . pending trial, . . . [may

be] released on a condition or combination of conditions” so

long as the conditions imposed “will reasonably assure the

appearance of the person as required and the safety of any other

person and the community.” 18 U.S.C. § 3142(a)(2), (c)(1)(B).

     McAfee argues that the Bail Reform Act does not apply to

his release, and he cites two out-of-Circuit cases in support:


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Salerian, 2016 WL 8732377, at *3 (dismissing indictment without

prejudice and ruling that “[g]iven that the defendant is not

pending trial in any genuine way, I find that the Bail Reform

Act, which serves as the basis for his current supervision, no

longer applies to him”), and United States v. Peppi, No. 06 Cr.

157 (AET), 2007 WL 674746, at *5 (D.N.J. Feb. 28, 2007) (ruling

the Bail Reform Act does not apply “[b]ecause [the defendant]

cannot be brought to trial now, [and] it seems an impermissible

fiction to pretend that one is pending”).        The Second Circuit,

however, has yet to decide whether the Bail Reform Act applies

to an incompetent defendant such as McAfee. See United States v.

Magassouba, 544 F.3d 387, 413–14 (2d Cir. 2008) (“We need not

here decide what conclusion we would reach on facts similar to

those in Peppi.”).

     As discussed above, this case is unusual.         Although the

likelihood of McAfee ever regaining competency is minimal, the

finding that his mental illness presently does not create a

substantial risk of bodily injury to another person or serious

damage to property of another under 18 U.S.C. § 4246 may change

depending on how McAfee’s illness progresses after his release.

Accordingly, because the Indictment remains pending, and

McAfee’s competency or dangerousness may need to be reassessed

in the future, the Court finds that Bail Reform Act applies. Cf.

Magassouba, 544 F.3d at 413 (“While an incompetent criminal


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defendant cannot be placed ‘on trial’ consistent with due

process, there is no similar constitutional bar to his remaining

‘pending trial’ while competency proceedings are resolved.”).

Accordingly, McAfee shall be released subject to the conditions

set forth in Section III below, the general features of which

McAfee’s counsel agrees are appropriate.       (Tr. at 8:23–9:6,

12:4–19.)

     Turning to McAfee’s additional request that the BOP

administer a test for the coronavirus, COVID-19, and place him

in quarantine before he is released, the Court agrees that such

measures are appropriate and necessary to safeguard the

community before McAfee is returned to it.        COVID-19, of course,

is the deadly pandemic impacting all corners of the world,

including BOP facilities where at least 35,426 federal inmates

have been infected by the virus, 182 of whom have died. See

COVID-19 Cases, Fed. Bureau of Prisons,

https://www.bop.gov/coronavirus/ (last visited Jan. 7, 2021).

Although the Government does not object to McAfee’s reasonable

and prudent request, the Court lacks the authority to issue such

an order to the BOP.    See, e.g., United States v. Kanagbou, 726

F. App’x 21, 25 n.1 (2d Cir. 2018) (summary order) (“[I]t is

well established that the district court does not control how

the Executive Branch carries out a defendant’s sentence.”).

Nevertheless, the Court, in the strongest terms possible,


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recommends that the BOP take such steps to ensure McAfee’s

safety and the safety of the community to which he will return.

      Finally, McAfee requests the Court order the U.S. Marshals

Service (USMS) transport him from the Metropolitan Correctional

Center in Manhattan to his mother’s home near Trenton, New

Jersey when he is released.        The Government opposes the request

on that grounds that it lacks any statutory basis and

constitutes an unreasonable hardship for the USMS due to the

COVID-19 pandemic.      The Court agrees with the Government.

Accordingly, McAfee’s counsel, not the USMS, is directed to

assist McAfee with obtaining transportation to his mother’s

home.    McAfee’s counsel may submit such expenses for

reimbursement pursuant to his appointment under the Criminal

Justice Act.

      III.    Order

      In view of the above, it is hereby ORDERED that, by no

later than February 1, 2021, Defendant Lawrence McAfee is to be

RELEASED subject to the following terms:

  -   McAfee shall be subject to supervision by Pretrial
      Services;

  -   McAfee shall comply with all directions he receives from
      Pretrial Services;

  -   McAfee is not required to post a monetary bond;

  -   McAfee’s travel is restricted to the District of New
      Jersey, and to the Southern and Eastern Districts of New
      York for the purposes of court appearances, attorney


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    visits, medical treatment, or other reasons approved by
    Pretrial Services;

-   McAfee’s travel restrictions shall be enforced by GPS
    monitoring technology;

-   McAfee is to report, within 72 hours of his release, to the
    Crisis Center, Capital Health Medical Center, on Brunswick
    Avenue in Trenton, New Jersey, for psychiatric examination
    and treatment.

-   McAfee shall reside in his mother’s home in Ewing, New
    Jersey, or another location approved by Pretrial Services
    such as an appropriate medical, psychological or
    psychiatric facility;

-   McAfee shall not commit a Federal, State or local crime;

-   McAfee shall not possess a firearm, destructive device, or
    other weapon;

-   McAfee shall not use or unlawfully possess a narcotic drug
    or other controlled substance as defined in 21 U.S.C. §
    802, unless prescribed by a licensed medical practitioner;

-   McAfee shall refrain from consuming alcohol;

-   McAfee shall submit to testing for a prohibited substance
    as required by Pretrial Services;

-   McAfee shall participate in a program of inpatient or
    outpatient mental health therapy and/or substance abuse
    therapy if recommended by a licensed medical practitioner
    or Pretrial Services;

-   McAfee shall take all medications prescribed by a licensed
    medical practitioner, including medications prescribed by
    physicians at FMC Butner;

-   McAfee shall report to Pretrial Services, as soon as
    possible, every contact with law enforcement personnel,
    including arrests, questioning, or traffic stops; and

-   By no later than June 25, 2021, McAfee shall provide the
    Court with a report from a licensed medical practitioner
    setting forth an update regarding McAfee’s mental health
    status, the conditions of his treatment, whether he has


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     attained competency or likely will attain competency, and
     whether his mental disease would create a substantial risk
     of bodily injury to himself or another person, or serious
     damage to property of another.

     It is FURTHER ORDERED that the FEDERAL BUREAU OF PRISONS is

strongly recommended to test McAfee for the coronavirus, COVID-

19, as soon as possible and to place him in quarantine until his

release.

     Finally, the FEDERAL BUREAU OF PRISONS shall provide a copy

of McAfee's medical records to him during his release, which

must include a list of all prescriptions and medications the BOP

is providing to him.

     IV.     Conclusion

     For the reasons set forth above, Defendant Lawrence

McAfee's motion for release from federal custody is GRANTED

subject to the conditions in Section III above.          McAfee's motion

to dismiss the Indictment is DENIED.

     The Clerk of Court is directed to terminate the motions at

ECF Nos. 53 and 54.



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SO ORDERED.

Dated:     New York, New York
           January 12, 2021       ,               John F. Keenan
                                           United States District Judge




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